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Your Name;         Thomas Hayes                                             S             ^'3
Address: ]535 Franklin Street, # 4F, Denver, CO 80218                       APR 182019
Phone Number:       (720 391-5133
                                                                          SUSAN Y. SOONG
Fax Number:                                                                 U.S. DISTRICT COURT
E-mail Address: santeesevenf^^'vahoo.coin                            WRTH DISTRICT OF CALIFOFINIA
Pro Se Plaintiff



                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE NORTHERN DISTRICT OF CALIFORNIA


                              Civil Action No.         CVi9-8loe edl
                                       COMPLAINT



THOMAS HAYES                         , Plaintiff

V.                                                       DEMAND FOR JURY TRIAL


FACEBOOK                                           ,     YES X           NO

                                   , Defendant.



                                             PARTIES



A. PLAINTIFF INFORMATION


(Name and complete mailing address)
Thomas Haves. 1535 Franklin Street - #4F. Denver Colorado 80218


(Telephone number and e-mail address)
720-391-5133 and, santeeseven@yahoo.com


B. DEFENDANT INFORMATION


 Defendant 1: Facehook.            1601 Willow Road. Menio Park. CA 94025
                   (Name and complete mailing address)
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                       (650^ 308-7300

                  (Telephone number and e-mail address if known)

 Defendant 2:    N/A
                  (Name and complete mailing address)
                 N/A

                  (Telephone number and e-mail address if known)



C.JURISDICTION
Identify the statutory authority that allows the court to consider your claim(s):(check one)

       Federal question pursuant to 28 U.S.C. § 1331 (claims arising under the Constitution,
       laws, or treaties of the United States)


       List the specific federal statute, treaty, and/or provision(s) of the United States
Constitution
        that are at issue in this case.




 X      Federal question pursuant to 28 U.S.C. § 1332(a matter between individual or
       corporate citizens of different states and the amount in controversy exceeds $75,000)


        Plaintiff is a citizen of the State of Colorado




        If Defendant 1 is an individual. Defendant 1 is a citizen of    N/A

        If Defendant 1 is a corporation,


        Defendant 1 is incorporated under the laws of        Delaware
       (name of state or foreign nation).

        Defendant 1 has its principal place of business in    California
       (name of state or foreign nation).
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The amount in controversy is in excess of $75,000, not counting interest or cost of courts.
Plaintiff seeks injunctive and declaratory relief under 28 U.S.C. § 1332,(a diversity of
citizenship case in excess of $75,000). Plaintiff brings this lawsuit pursuant to California Civil
Code 45 libel per se and California Civil Code 45a libel per quod due to actual damages ; and,
48a general, special and exemplary damages :
The plaintiff is a resident of Colorado and is currently incorporated in Colorado under the name
Seventh Generation Fuels LLC. Defendant is both an individual and a corporate citizen
incorporated in Delaware and whose primary place of business is in California.


Venue is appropriate in this Court because:

A substantial part of the events I am suing about happened in this district. X


INTRADISTRICT ASSIGNMENT


This is a U.S. State District to U.S. State District lawsuit and the Plaintiff request it be assigned
to a full U.S. District Judge. There is no intradistrict assignment ofthis case; this case is a state
to state diversity case.


 D.     STATEMENT OF CLAIM(S)

CLAIM ONE:
For referencing the California Civil Codes 45,45a; and,48a explains actionable damages (text of
48a omitted here).

45. Libel is a false and unprivileged publication by writing, printing, picture, effigy, or other
fixed representation to the eye, which exposes any person to hatred, contempt, ridicule, or
obloquy, or which causes him to be shunned or avoided, or which has a tendency to injure him in
his occupation.

45a. A libel which is defamatory of the plaintiff without the necessity of explanatory matter,
such as an inducement, innuendo or other extrinsic fact, is said to be a libel on its face.
 Defamatory language not libelous on its face is not actionable unless the plaintiff alleges and
 proves that he has suffered special damage as a proximate result thereof. Special damage is
defined in Section 48a of this code.


The Plaintiff owns a Limited Liability Company incorporated in Colorado. The name of the
Plaintiffs company is Seventh Generation Fuels LLC and is in good standing. Plaintiff owns
three web-pages touting the Company's exclusive licensing, brokering, contracting, leasing
                                                   3
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rights and ail other business rights to the intellectual property claimed within the United States
Patent and Trademark Office Patent 9057024, granted to Plaintiff on June 15th, 2015. The
names ofthe web-pages are wakute.wixsite.com/fuel and wakute.wixsite.com/ciimate and
wakute.wixsite.com/flood . The Plaintiffs email address is santeeseven@yahoo.com .

On June 28th, 2018,the Plaintiff using a preplanned business strategy joined the most well
known social media available, Facebook (Defendant), in order to promote Plaintiffs business
and web-page with two specific objectives 1)The entire object had been to obtain the Seventh
Generation Fuels LLC 2019-2020 Business Plan Administrative Start-up costs of $30,000,000
by; 2)enlisting active Facebook Users to help find and/or write an environmental grant using the
start-up equipment and other proposals sought in Plaintiffs web-pages as a scope of needs.
Approximate need ofthe grant is $80,000. The objective of reaching the $30M had been
developed from the onset ofthe strategy and is very attainable because ofthe lucrative value of
the Plaintiffs company's fuel material and it's attributes. The desired amount is reasonable
when considering the costliness of all other fuel materials available today. The Plaintiffs
business project is an environmentally clean renewable energy in the form of a multi-applicable
fuel material. Facebook is worldwide and this energy project is needed.

Beginning on July 10th, 2018 Plaintiff discovered that his posts/articles were being spammed.
Sometime after being obsessed with the spamming/blocking Plaintiff noticed his contact
information was also being blocked and libeled. Plaintiff cannot be exactly sure as to when
Plaintiff noticed the blocking libelous message regarding his email. The Plaintiff assumed later
after reviewing his timeline posts trying to ascertain when the spamming/blocking messages
began. Plaintiff assumed that it must have been on July 10th also that the Plaintiffs signature
email address: santeeseven@vahoo.com had been libeled and blocked. Since that was the time
the harassment started it is the obvious conclusion the all harassment including the libel were
initiated simultaneously, nevertheless it occurred. The Facebook link in question and the picture
graphic evidence possessed by the Plaintiff reveals a constant spamming/blocking of all
Plaintiffs post. The timeline record shows that for a period the Plaintiff had been consumed with
writing new articles and attempting frustratedly to get them posted without success, so it had
been sometime prior to filing the original complaint that Plaintiff noticed the full scope ofthe
blocking and message pages being offered. Plaintiff cannot be exactly sure ofthe exact date he
had noticed the "malicious" message displayed when Facebook viewers attempt to contact or
view Plaintiffs business email address. It is important to note that the Plaintiff did create the
Facebook page at issue in this case and that Facebook knew who the Plaintiff was. The Plaintiff
created an accompanying business Facebook page, also on June 28th, 2019, using the same
identifying logo, Plaintiffs company's logo is very bright and recognizable(A buffalo with a red
winged blackbird on it's back standing in the sun). Plaintiff also listed the same email address
and contact information which also were blocked in identical fashion. The Patent 9057024
advertised by the Plaintiffs web pages list"Thomas Hayes" as inventor. Facebook list Seventh
Generation Fuels LLC's owner as Thomas Hayes. The whole idea ofJoining Facebook is so that
people will know who you are: to present one's face.Job interviewers research prospective
employees using their accounts - Facebook knew who I was when their libel and harassment
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began. The post and advertising Plaintiff did were were written discemibly to the average reader
in order to reach a greater public. The posts were about the Plaintiffs life so that anyone that
read them would know who the Plaintiff is. The Plaintiff gained well over 300 friends including
several environmental organizations consisting of a possible hundreds ofthousands that viewed
the Facebook page in question. The Defendant then posted a libelous message when viewers
were trying to contact the Plaintiff through his email address santeeseven@vahoo.com and
blocked every post/article written by the Plaintiff claiming it was spam and it didn't meet
Facebook's community standards. The Plaintiff immediately complained through a message
form offered by Facebook about their "malicious" statement and received no reply nor change.
Plaintiffthen tried to remedy the assault by posting publicly on Facebook: "I am formally
requesting that you contact whomever it is that has the reins to unblock me and to stop harassing
me. Thank You Thomas Hayes." And still no reply nor change. After realizing I had no options
I filed a civil complaint and notified Facebook by posting the case number. After the Plaintiff,
through his filings, told the court about their use ofthe Plaintiffs libeled and blocked contact
information in this very case they unblocked all ofthe web pages without comment. They
removed the "malicious" statement but left and instagram message saying the link might have
been removed. This proves that the Defendant knows who the Plaintiff is and is proof of
culpability. No apology was ever attempted. The damage has been done and is irreversible. The
Defendant generated a slanderous and libelous statement in which Facebook claimed the Plaintiff
who is identified in all of his business web pages and promotions as santeeseven@vahoo.com
was "Malicious" and "harmful". The Defendant advised in print that actual malice was waiting
for them should a viewer contact the Plaintiff. This had been publicly visible and defaming to
Plaintiff, to his business and to the efforts of his web-pages and to hsi better than just good
intentions. By posting the "malicious" statement the Defendant also slandered all of Plaintiffs
web-page content including a successfully claimed patent under the title: "Liquefaction and
internal logic flow processing unit and prioritized cost effective machine apparatus used for
the creation of a liquid fuel material made from the underwater arching of carbon rods.
Apparatus emphases are placed on cost-effectiveness and energy saving liquefaction
process for the replacement of petroleum gasoline"(U.S. Patent 9057024). This Patent is
highly noticeable and has the name Thomas Hayes all over it.

After advising the Defendant they were slandering my email and needed to correct it requesting
the defendant to quit harrassing and unblock all ofthe Plaintiffs contact information
immediately, I have recorded this message. Once Plaintiff became fully aware what was
occurring through Facebook's posting mechanism and spam messages, the Plaintiff filed a
lawsuit in The United States District Court of Colorado. It took some time to realized the full
impact of what was occuring to myself and my business -1 continued to write and post articles
even as each one was spammed until it felt like hatred. During this time, and prior to, it had been
obvious that Facebook knew who the Plaintiff was because they had been using the email
address they called "malicious" in their legal correspondence with the Plaintiff; and, during the
lawsuit the "malicious" message was switched to another blocking message that claimed the
email address violated Facebook's community standards.
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From July 10th, 2018 until September 12th, 2018, the Defendant(Facebook) publicly posted this
message and displayed it to all active Facebook users, investors and viewers whenever they click
on Plaintiffs web-page or email address: "BLOCKED - We believe the link you are trying to
visit is malicious. For your safety, we have blocked it."

The Plaintiff would like to make clear that it had been later assumed that the email message had
been generated by Facebook at the same time or simultaneously as the spamming/blocking began
but the exact date Plaintiff"discovered" the "malicious" statement cannot be certain, is certain it
happened and Plaintiff noticing when it changed during the proceedings.

On September 22nd, 2018, long after Plaintiff had already posted notice to Facebook and it's
viewers that litigation had been initiated. After that time the blocked post had been changed by
Facebook to:"You Can't Go to This Link From Facebook. The link you tried to visit goes
against our Community Standards." The messages have been copied and saved to Plaintiffs
computer for evidence. Once again this proves they were aware of what they were doing and to
whom they had been doing it to. Presently sa^teesevelV^^ ahoo.com is being blocked by
Facebook claiming through an instagram message that the link, my email address they are now
using, may have been removed. Of course the Plaintiff has photographed and saved all the above
evidence.


Defendant is suggesting potential investors and viewers do not contact Plaintiff by posting the
above block messages as a response to viewers attempting to contact Plaintiff. Investors that
decide to cut and paste the Plaintiffs blocked email information they will be led to believe none
ofthe Plaintiffs web-page content is valid nor true and that Plaintiff is too malicious to contact.
It is a threat to viewers to contact the Plaintiff even to the point that the Plaintiffs email address
could give them a virus(which is what "...malicious. For your safety,..." means in the world of
internet to a normal person).

The Plaintiffs intellectual achievements and property have been slandered and libeled by
published false statements that are damaging to Plaintiffs reputation and is now at stake because
ofthe necessity offiling this lawsuit and a written defamation and treatment of disrespect that
had been viewable around the world; viewable to all active Facebook users across the globe and
at present the contact email address is still not accessible as it was on July 28th, 2018 when
Plaintiff created his Facebook page. The Plaintiffs Facebook page can be viewed by:
https://www.facebook.eom/thomas.haves.71868964

Plaintiffs legally incorporated business and his individual efforts and full potential have been
circumvented and defamed by the Defendant's spamming and blocking messages to potential
investors and viewers. The email address is santeeseven@vahoo.com is presently not accessible
by click on Plaintiffs page after all these months ofcomplaining. The Facebook generated
blocking message now says: "Sorry, this page isn't available. The link youfollowed may be
broken, or the page may have been removed. Go back to Instagram.^^ Presently Facebook uses
the so-called unavailable page to correspond with the Plaintiff and have listed it on their
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Certificate of Service on court record.


Plaintiff had previously sought and exhausted remedy prior to this complaint and had already
attempted to seek to correct the issue toward a resolution with Facebook prior to this court filing
and took photographic evidence ofthose efforts and stored them on his computer with other
evidence.


During this lawsuit the son ofthe Plaintiff who had been with the First Marines from Camp
Pendleton California from the very start of the war and was with the First Marines as they took
Baghdad. Mato Ska Hayes seen a lot of war action and was a crew chieffrom the start because
he had graduated 29 Palms as Honor Guard. He has obvious PTSD and the Plaintiffs family had
been trying to locate him for several years now and he had been unresponsive. During this case
Mato Skao Hayes accepted the Plaintiffs friend request and even sent a message stating only: "1
love you Dad." The Plaintiff frantically emailed him back using the Facebook message service
and found that the next day Facebook left me a message saying "This message was removed
because it includes a link that goes against our community standards."

During this action no one has ever allowed the Plaintiff to bring witnesses that had viewed the
messages. There have been persons who quit trying to help this business project during this
lawsuit that very well could be from the controversy that are therefore attributable to the slander
but it is hardly likely people who have now distanced themselves would testify on behalf of the
Plaintiff having made their decision already. The Plaintiff has a grant writer currently who also
had noticed Facebook's disparagement and libel and is willing to testify. Witness are available
to this action and to the Plaintiff serious business efforts. It is the pleading ofthe Plaintiff that
this case be recognized as libel per se based off the evidence already on the court record but also
recognize that there is also special, actual and exemplary damages inherent in this case.

All this action from the Defendant is still currently causing additional pain and damage to the
Plaintiff by causing hopelessness, frustration, panic, duress and anger upon the Plaintiffs mental
state in far too many ways and has been very damaging to his legal business efforts and
endeavors. At some point even reputation takes a backseat to mental anguish and hopelessness.
Plaintiff asserts is entitled to relief.


The record and picture graphic evidence is sufficient to be actionable under the standard of
California law as a per se claim of libel and all the damages including general, actual and special
damages are requested and should be allowed under the standard of libel per se. And yet the
evidence shows that general, actual and or special damages are inherent in this complaint, that it
is so blatantly financially crippling, effecting and full of financial and mental consequences that
it also can satisfy the higher standard of libel per quod and California Civ Code 48a regarding
damages if necessary as laid out in CLAIM ONE.
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E.     REQUEST FOR RELIEF

The Plaintiffs intellectual achievements and property have been slandered and libeled by
published false statements that have been damaging to Plaintiffs reputation through a written
defamation that is viewable to the entirety of active Facebook Users across the globe.

The Plaintiff respectfully submits he is entitled to all of the amounts listed above ($30,000,000;
$3,000,000; and,$80,000) which are now being obstructed and hindered by the Defendant
through his continued actions and defamation.


Plaintiff request Defendant be ordered to pay Plaintiffs company Administrative Start-Up Cost
as listed in the 2018-2019 Seventh Generation Fuels LLC business plan which is $30,000,000.

The Plaintiff request Defendant be ordered to pay ten-percent amount of start-up costs which
Plaintiff had been soliciting and is $3,000,000, as that had also been an attainable objective. The
%10 amount was to satisfy the standard requirement of principal funders to provide the rest. The
media objective had been to obtain the(%10)or $3,000,000 and use it to then obtain the total
start-up costs. Plaintiff request the(%10)amount in judgement of an additional $3,000,000.

As mentioned in CLAIM ONE Plaintiff had been using social media to obtain a grant writer with
the objective of getting an environmental grant sufficient to cover the needs listed in Plaintiffs
web-pages and that amount had been approximately $80,000 and Plaintiff request this amount
added to any other entitled relief.

Because the Defendant's publications have already been posted worldwide causing long lasting
funding damage to the corporate endeavors of Plaintiffs legal business by defamation. The
personal cost already paid that it took to prosecute U.S. Patent 9057024, which after more then
ten years and thousands of dollars, a type of damage cannot be estimated immediately. All this
had been ready and was circumvented after June 28th, 2018 when a Facebook account was open
by the Plaintiff and promptly censored, vetted and libeled soon after by the Defendant.

Damage has been done by Defendant that cannot be reversed without monetary award for
damages and a public acknowledgement and apology by way of public monetary damages being
awarded by this Honorable Court. A simple retraction and apology will not suffice.

Plaintiff also request damages for emotional relief such as exemplary damages, punitive
damages, pain and suffering damages, compensatory damages, damages for emotional stress and
undue suffering and for actual damage done to Plaintiffs mental state by aggressively
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circumventing the Plaintiffs fleeting chance to make actual contact with his disabled war hero
son. The mental anguish setback and vetting defeat of a well planned out strategy for a business
and what it cost is not presently knowable but is at least as much as what has been claimed so far
herein.


Because this is a state to state diversity case involving a large amount of money at stake and with
at least one huge multi-billion dollar company pitted against a self-represented citizen with a
startup company that although is asset rich is currently impecunious from another state it is the
respectful request that a full U.S. District Judge be appointed to this lawsuit. This lawsuit cannot
be remedied by a simple retraction. The Plaintiff request all the damages above and their
amounts in relief.


F.        PLAINTIFF'S SIGNATURE


I declare under penalty of perjury that I am the plaintiff in this action, that 1 have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
18U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint:(1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2)is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law;(3)the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4)the complaint otherwise complies with the requirements of Rule 11.

 (Plaintiffs signature)

 (Date)

                                  CERTIFICATE OF SERVICE
I hereby certify that the foregoing was served by and upon its filing with this Court by
delivering it to the Clerk of Court for the Northern District of California and interested
parties at the addresses enumei^d below and by depositing in the U.S. Mail to the addresses
seHortlvbelo^^^              [        ,2019,
Thomas Hayes, pro se Plaintiff
1535 Franklin Street - #4F
Denver, CO 80218
santeesex en@yahoo.com
Telephone number 720-391-5133

Cc: Carolin Topelson Law,LLC
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